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                           United States District Court
                           In re: College Athlete NIL Litigation
                           Case No. 4:20-cv-03919




Class Action Notice
Authorized by the U.S. District Court

Were you denied             There is a                     To see how much money you may get,
compensation                $2,576,000,000                 visit
opportunities               settlement of a                www.collegeathletecompensation.com
as a college                lawsuit.                       on [60 days after notice date].
athlete any time            You may be
between                                                    Read this notice.
                            entitled to money.
2016 and 2024?
                            The settlement                 Respond by [105 days after notice
                            also changes NCAA              date], if needed.
                            compensation
                            rules in the future.



Important things to know:
   •   If you take no action, you will still be bound by the settlement, and your rights will be
       affected.
   •   If you would like to understand how NCAA compensation rule changes may give you more
       compensation opportunities in the future, please go to pg. 6.
   •   You can learn more at: www.collegeathletecompensation.com.




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About This Notice
Why did I get this notice?
     This notice is to tell you about the settlement of a class action lawsuit, In re: College Athlete
     NIL Litigation, brought on behalf of current and former college athletes who competed on a
     Division I athletic team between June 15, 2016 and September 15, 2024. You may be a
     member of the group of people affected, called the “class.” This notice gives you a
     summary of the terms of the proposed Settlement Agreement, explains what rights class
     members have, and helps class members make informed decisions about what action to
     take.

What do I do next?
     Read this notice to understand the settlement and to determine if you are a class member.
     Then, decide if you want to:

     Options              More information about each option
     Submit a Claim       You may need to submit a claim to receive payment. See
     Form                 page 10. You will be bound by the settlement.
     Do Nothing           Potentially receive one or more payments, if you qualify.
                          Give up your right to bring a lawsuit against the NCAA,
                          and the Power Five Conferences (the ACC, Big 12, Big
                          Ten, Pac-12, SEC), including their member institutions,
                          about the same issues. Possibly get no payment from
                          certain settlement funds if a Claim Form is required. See
                          page 14.
     Opt Out              Get no payment. Allows you to bring another lawsuit
                          against the NCAA, ACC, Big 12, Big Ten, Pac-12, SEC
                          and/or their member institutions about the same issues.
                          You cannot opt out of the future rule changes (called
                          injunctive relief).
     Object               Tell the Court why you don’t like the settlement.

     Read on to understand the specifics of the settlement and what each choice would mean
     for you.

What are the most important dates?
     Your deadline to object or opt out: [105 days after notice date]
     Settlement Final Approval Hearing: [date, at least 150 days after notice date]
     Your deadline to submit a Claim Form, if applicable to you: [165 days after notice date]




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Learning About the Lawsuit
What is this lawsuit about?
     Several college athletes sued the NCAA and
     Power Five Conferences in a class action lawsuit.    Where can I learn more?
     The lawsuit alleges that the NCAA and Power          You can get a complete copy of
     Five Conferences broke the law by agreeing not       the Complaint, Settlement
     to pay college athletes for their participation in   Agreement, and the Court's
     college sports or for the use of their NIL (Name,    Orders at:
     Image, and Likeness), and limiting scholarships      collegeathletecompensation.com
     available to college athletes.
     The NCAA and Power Five Conferences deny that they did anything wrong.

Why is there a settlement in this lawsuit?
     The parties agreed to settle, which means
     they have reached an agreement to resolve            What is a class action
     the lawsuit. Both sides want to avoid the risk       settlement?
     and expense of further litigation.                   A class action settlement is
     The settlement is on behalf of college               an agreement between the
     athletes who competed on a Division I                parties to resolve and end
     athletic team between June 15, 2016 and              the case. Settlements can
     September 15, 2024. The Court has not                provide money to class
     decided this case in favor of either side.           members and changes to
                                                          the practices that caused
     The settlement also changes NCAA rules on
                                                          the alleged harm.
     compensation for athletes going forward.
     Schools    may    increase    compensation
     opportunities that affect you going forward
     because of these rule changes.

What happens next in this lawsuit?
     The Court will hold a Final Approval Hearing to decide whether to approve the settlement.
     The hearing will be held at:
     Where: Ronald V. Dellums Federal Building & United States Courthouse, 1301 Clay Street,
     Oakland, CA 94612
     When: [time] on [date] [at least 150 days after notice date]
     The date and time of the Final Approval Hearing may change without further notice to the
     class. You should check the settlement website or the Court’s PACER site to confirm that the
     date has not changed.
     Case: In re: College Athlete NIL Litigation, No. 4:20-cv-03919-CW
     Judge: Claudia A. Wilken


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     The Court has directed the parties to provide this notice about the proposed settlement.
     Because the settlement of a class action decides the rights of all members of the proposed
     classes, the Court must give final approval to the settlement before it can take effect.
     Payments will only be made if the Court approves the settlement.
     You don’t have to attend the hearing, but you may do so at your own expense. You may
     also ask the Court for permission to speak and express your opinion about the settlement.
     If the Court does not approve the settlement or the parties decide to end it, the settlement
     will be void and the lawsuit will continue.

Important Facts About How The Settlement Might Affect You
What does the settlement provide?
     The Defendants (NCAA and Power Five Conferences)
     have agreed to pay $2,576,000,000 into a settlement            Who are the
     fund ("damages settlement"). This money will be
                                                                    Defendants?
     divided among class members (according to a
                                                                    NCAA, ACC, Big 12,
     Distribution Plan) and will also be used to pay for costs
                                                                    Big Ten, Pac-12,
     and fees approved by the Court, including the cost of
                                                                    and SEC
     administering this settlement and awards to the Class
     Representatives for their help in the lawsuit.
     Defendants will also change NCAA and conference rules to allow student athletes to receive
     additional benefits, including for NIL, and participation in college sports and eliminate
     scholarship limits ("injunctive relief settlement").
     Members of the settlement classes will “release” their claims as part of the settlement,
     which means they cannot sue any of the Defendants or their member institutions, for the
     same issues in this lawsuit. The full terms of the release can be found at
     www.collegeathletecompensation.com.
     NOTE: The Settlement Agreement does not release claims currently raised in the
     Complaint in Choh v. Brown University et al., No. 3:23-cv 305 (D. Conn.) (“Choh”), against
     the Ivy League and Ivy League member institutions (“Choh Defendants”), challenging
     an alleged agreement among the Choh Defendants not to award athletic scholarships
     or otherwise provide any compensation or education-related reimbursements for
     athletic services as permitted under then-applicable NCAA rules. The previously filed
     Choh claims arise out of unique aspects of rules applicable within the Ivy League
     alone. The Settlement Agreement and its release provisions otherwise fully apply to
     student-athletes who are in the Settlement Classes, including but not limited to Ivy
     League student-athletes, and likewise otherwise fully apply to Releasees as defined
     in the settlement, which includes but is not limited to the Ivy League, Ivy League
     member institutions, and Defendants in this Action.
     The Settlement Agreement does not release the claims currently stated in the Complaint in
     Johnson, et al. v. National Collegiate Athletic Association, et al., 2:19-cv-05230-JP (E.D. Pa.),
     claims under the Fair Labor Standards Act, 29 U.S.C.A. § 201 et seq. or any other federal

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     labor laws, or claims under any analogous state labor laws.
     You do not need to opt out of this settlement in order to pursue remedies in those actions.

How do I know if I am part of this settlement?
     You are part of the settlement and may be entitled to money if: You competed on a
     Division I athletic team and were declared initially eligible for competition at any point
     between June 15, 2016 and September 15, 2024. You may have the opportunity to get
     money now and/or to receive more money going forward if you compete on a Division I
     athletic team after Fall 2025. For a complete description of each of the settlement classes,
     visit www.collegeathletecompensation.com.
     You are not part of the settlement if: You are an officer, director, or employee of one of
     the Defendants or you are the staff or immediate family member of the judge in this case.

How much will my payment be?
     Your payment depends on the number of academic years you competed on an athletic
     team, the college or university you attended, the sport you played, your scholarship status,
     your reported NIL deals, the years you played, the number of athletes included in the
     settlement, the amount of money the Court approves for costs, fees, and awards, as well
     as other factors. Any payment you are entitled to will be paid out yearly over a ten-year
     period with equal amounts paid each year.
     To see your estimated payment amount [60 days after notice date], go to
     www.collegeathletecompensation.com and login using the ClaimID and PIN in the email or
     postcard you received about this settlement, or use your NCAA EC ID number if you did not
     receive an email or postcard. Please note, your estimated payment amount is based on the
     information your schools have on file for you and provided for distribution in this
     settlement. You may need to submit a Claim Form to receive all payments you qualify for.

What if I received two notices?
     If you received two notices by email and/or mail, records indicate that you are included in
     both this settlement and the Academic Achievement Award settlement (a.k.a Hubbard v.
     National Collegiate Athletic Association). You may be eligible to receive money from both
     settlements.
     Go to www.collegeathletecompensation.com to file a Claim Form in this settlement and in
     the Hubbard v. National Collegiate Athletic Association settlement, if required, for you to
     receive all the money you qualify for.

Will any NCAA rules change?
     Yes, under the injunctive settlement, NCAA and conference rules will be changed to allow
     student-athletes to:
     •   receive additional benefits, including for NIL;
     •   receive additional benefits over and above annual existing scholarships and other
         benefits currently permitted by NCAA rules.
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     Complete details regarding these rule changes, as well as additional benefits are provided
     in the Injunctive Relief Settlement, available at www.collegeathletecompensation.com. You
     cannot opt out of the injunctive settlement, you may only object if you disagree with these
     changes.

Deciding What to Do
How do I weigh my options?
     You have four options. You can stay in the settlement and submit a claim (if needed), you
     can opt out of the damages settlement, you can object to the injunctive and damages
     settlement, or you can do nothing and be automatically sent your payment (if applicable).
     This chart shows the effects of each option:




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                                                  Submit
                                                  an
                                                                   Opt out     Object   Do Nothing
                                                  eligible
                                                  Claim
 Can I receive settlement money if I . . .        YES              NO          YES      POSSIBLY
 Am I bound by the terms of this
                                                  YES              NO          YES      YES
 settlement if I . . .
 Can I pursue my own damages case if I . . . NO                    YES         NO       NO

 Will the class lawyers represent me if I . . . YES                NO          NO       YES

Choose the best path for you:


                             Are you satisfied with
                                 the proposed
                                  settlement?




                    Yes                                       No




                                                       Do you want to
           Do you want to
                                                        file your own
         receive a payment?
                                                           lawsuit?




       Yes                  Maybe               Yes                       No




 Submit a Claim                              Opt out of
     Form, if             Do nothing             the                I don't like the
   needed, and                                damages                  proposed
    view your                                settlement               settlement
    estimated
     payment
  amount on or
  after [60 after
   notice date]                                                    Object in writing
                                                                   and/or appear in
                                                                    court to explain
                                                                   why you don't like
                                                                           it



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Getting a Payment
How do I get a payment?
     Payments will be automatically sent to:
     •   Power Five Football and Men's Basketball              What is NIL and BNIL?
         athletes for BNIL awards, videogame awards,           NIL refers to name, image
         athletic services, and lost opportunities (if NIL     and likeness. BNIL, as
         deal information has been provided to                 defined by Class Counsel in
         Plaintiffs by your school);                           the litigation, refers to the
                                                               use of an athlete's NIL via
     •   Power Five Women's Basketball athletes for            broadcasts like tv, radio,
         BNIL, athletic services, and lost opportunities       internet and other media.
         (if NIL deal information has been provided to
         Plaintiffs by your school); and
     •   Any Division I Athlete who competed in the same sport prior to and after July 1, 2021,
         and had an NIL deal after July 1, 2021 that has been provided to Plaintiffs by your school.
     You must file a Claim Form to receive a payment if:
     •   You are a Division I athlete other than a Power Five football or basketball player and you
         want to receive payment for athletic services;
     •   You are a football or basketball athlete not in the Power Five and you want to receive
         payment for videogames;
     •   You are a Division I athlete who competed in the same sport prior to and after
         July 1, 2021, and had an NIL deal after July 1, 2021 that has not been provided to
         Plaintiffs by your school.
     You may review your estimated payment amount [60 days after notice date] at
     www.collegeathletecompensation.com and file a Claim Form if any amounts are missing or
     a Claim Form is required for you to receive all the money you qualify for.
     Claim    Forms     may     be     submitted    online     or    downloaded      from
     www.collegeathletecompensation.com and mailed to the Settlement Administrator. Claim
     Forms must be submitted online or postmarked by [165 days after notice date].

How do I make sure I receive my payment?
     When you review your estimated payment amount and/or submit a Claim Form, you should
     also make sure your contact information is accurate and current. If the contact information
     listed is incorrect, you can and should update it because it will be used to send you your
     money.




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Do I need to file a Claim Form?

                                   Do I need to file a claim if:



                             My NIL deal                 My NIL deal
                          information has              information has
                          been provided to            NOT been provided
                           Plaintiffs by my           to Plaintiffs by my
                               school?                      school?



                                  No                          Yes



                                  Do I need to file a claim
                                     if I am a football or
                                  basketball athlete not in
                                    the Power Five and I
                                  want to receive payment
                                   for athletic services or
                                          videogames?



                                              Yes




       Do I need to file a claim if I                 Do I need to file a claim if I
       am a Division I athlete not                     reviewed my estimated
        in the Power Five and I                       payment amount [60 days
       want to receive a payment                        after notice date] AND
         for athletic services?                         amounts are missing?




                   Yes                                              Yes




Do I have a lawyer in this lawsuit?
     In a class action, the court appoints class representatives and lawyers to work on the case
     and represent the interests of all the class members. For this settlement, the Court has
     appointed the following individuals and lawyers.


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     Your lawyers: Steve Berman of Hagens Berman Sobol Shapiro LLP and Jeffrey Kessler of
     Winston & Strawn LLP. These are the lawyers who negotiated this settlement on your
     behalf.
     If you want to be represented by your own lawyer, you may hire one at your own expense.

Do I have to pay the lawyers in this lawsuit?
     Lawyers' fees and costs will be paid from the Settlement Fund. You will not have to pay
     the lawyers directly.
     To date, your lawyers have not been paid any money for their work or the expenses that
     they have paid for the case. To pay for some of their time and risk in bringing this case
     without any guarantee of payment unless they were successful, your lawyers will request,
     as part of the final approval of this settlement, that the Court approve a payment of up to
     20% of the $1.976 billion NIL Settlement Fund and up to 10% of the $600 million
     Compensation for Athletic Services Fund in attorneys’ fees, plus the reimbursement of out-
     of-pocket expenses. These fees will be paid out over ten years so they are aligned with any
     payments you will receive.
     With regard to the injunctive relief portion of the settlement, Class Counsel may also apply
     to the Court for an upfront injunctive fee and cost award of $20 million, which shall be paid
     for by Defendants, in addition to all other amounts paid. Annually, Class Counsel may apply
     to the Court, or a special master appointed by the Court, and apply for a percentage of the
     amounts athletes received that year as additional compensation. These payments to Class
     Counsel will count toward the maximum amount that all schools can spend in the next year.
     Further details on these payments can be found in the Settlement Agreement, available at
     www.collegeathletecompensation.com.
     Lawyers' fees and expenses will only be awarded if approved by the Court as a fair and
     reasonable amount. You have the right to object to the lawyers' fees even if you think the
     settlement terms are fair. The lawyers' motion for attorneys' fees and costs will be filed with
     the Court and posted on the settlement website on or before [60 days after notice date].
     Your lawyers will also ask the Court to approve a payment of up to $125,000 to the Class
     Representatives for the time and effort they contributed to the case. If approved by the
     Court, this will be paid from the Settlement Fund.




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Opting Out
What if I don't want to be part of this settlement?
     As to the damages settlement alone, you can opt out. If you do, you will not receive payment
     and cannot object to the settlement. However, you will not be bound or affected by anything
     that happens in this lawsuit and may be able to file your own case. You cannot opt out of
     the injunctive settlement.
How do I opt out?
     To opt out of the damages settlement, you must mail a letter to the Settlement
     Administrator at the address below postmarked by [105 days after notice date]. Your
     letter must include (1) your name, (2) your current address, (3) your NCAA EC ID number if
     available,
     (4) a sentence stating, “I want to opt out from the damages classes in In re: College Athlete
     NIL Litigation, Case No. 4:20-cv-03919,” and (5) your signature.

         House v. NCAA Settlement Administrator
         P.O. Box 301134
         Los Angeles, CA 90030-1134


Objecting
What if I disagree with the settlement?
     If you disagree with any part of the settlement (including the injunctive portion, and the
     lawyers' fees), you may object. You do not need to opt out of the damages settlement to
     make an objection. You must give reasons why you think the Court should not approve the
     settlement and state whether your objection applies to just you, one of the classes, or all of
     the classes. The Court will consider your views. The Court can only approve or deny the
     settlement — it cannot change the terms of the settlement. If the Court denies approval, no
     settlement payments will be sent out, and the lawsuit will continue. If that is what you want
     to happen, you should object. You may, but don’t need to, hire your own lawyer to help you.
     To object, you must send a letter to the Court, or file electronically, at
     https://ecf.cand.uscourts.gov, or file in person at any U.S. District Court for the
     Northern District of California location
     that:
     (1) is postmarked or submitted online by [105 days after notice date];
     (2) includes your full name, address, telephone number, and email address;
     (3) includes your NCAA ECID number if available;
     (4) includes the case name and number (In re: College Athlete NIL Litigation, Case No. 4:20-
         cv-03919);
     (5) states the reasons for your objection;

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(6) states whether either you or your lawyer intend to appear at the Final Approval Hearing
    and your lawyer's name (if you have one); and
(7) includes your signature.




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     Mail the letter to:

          Ronald V. Dellums Federal Building & United States Courthouse
          c/o Class Action Clerk
          1301 Clay Street
          Oakland, CA 94612

     Any objection to the proposed settlement must be in writing. If you file a timely written
     objection, you may, but are not required to, appear at the Final Approval Hearing, either in
     person or through your own attorney. If you appear through your own attorney, you are
     responsible for hiring and paying that attorney.

Doing Nothing
What are the consequences of doing nothing?
     If you do nothing, you might not get any money or you might not get all of the money you
     are entitled to, but you will still be bound by the settlement and its “release” provisions.
     That means you won’t be able to start, continue, or be part of any other lawsuit against any
     of the Defendants, including their member institutions, about the issues in this case. Please
     see       the      Settlement       Agreement,     which      can      be      found       at
     www.collegeathletecompensation.com, for a full description of the claims and entities who
     will be released if this settlement is approved.

Key Resources
How do I get more information?
     This notice is a summary of the proposed settlement. To get a copy of the Settlement
     Agreement or get answers to your questions:
     •   contact your lawyers (information below);
     •   visit the case website at www.collegeathletecompensation.com;
     •   access the Court Electronic Records (PACER) system online or by visiting the Clerk’s office
         of the Court (address below);




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Resource               Contact Information

Case website           www.collegeathletecompensation.com

Settlement             House v. NCAA Settlement Administrator
Administrator          P.O. Box 301134
                       Los Angeles, CA 90030-1134
                       info@collegeathletecompensation.com
                       1-877-514-1777

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                       (212)-294-2658
                       Winston & Strawn LLP
                       200 Park Avenue
                       New York, NY 10166-4193

Court                  U.S. District Court
                       Ronald V. Dellums Federal Building & United States Courthouse
                       1301 Clay Street
                       Oakland, CA 94612
                       HOURS: 9:00 a.m. to 4:00 p.m., Monday through Friday, excluding
                       Court holidays
                       PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S
                       OFFICE TO INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIM
                       PROCESS.




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